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 2
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     COUNSEL FOR DEFENDANTS
 5
     RUIFENG BIZTECH INC.; GANGYOU WANG;
 6
     ALAN LI; AND, RF BIOTECH LLC
 7

 8                    UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
 9
                         SAN FRANCISCO DIVISION
10
     QUINTARA BIOSCIENCES, INC.,         Case No.: 3:20-cv-04808-WHA
11
     a California corporation,
12                                       [Assigned to presiding Judge Honorable
                Plaintiff,               William Alsup]
13
                v.
14
     RUIFENG BIZTECH INC., a             RUIFENG ET AL’S REPLY TO THE
15                                       OBJECTION OF QUINTARA AS TO
     California corporation, GANGYOU
16   WANG, an individual, ALEX           REQUEST FOR OVERLENGTHY/
     WONG, an individual, ALAN LI,       OVERSIZED BRIEF.
17
     an individual, RUI SHAO, an
18   individual, and RF BIOTECH LLC,
19
     a California limited liability
     company,
20

21
                Defendants.

22

23

24

25

26

27       TO THE HONORABLE COURT, ALL PARTIES, AND ATTORNEYS OF
28
     RECORD, HEREIN:


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 1                                           REPLY
 2

 3         Quintara’s attorney, Daniel Peterson should be a novel writer and storyteller.
 4   More than half of his alleged objection is a rant, where Mr. Peterson rambles baselessly
 5
     – not about the facts, but about the frustration and incompetence of Mr. Peterson and his
 6

 7   four-person team losing the entire case for his client, Quintara. If Mr. Peterson and his
 8
     four-person team had tried even half as hard in proving the substantive merits of the
 9
     frivolous DTSA action the way they’re attacking undersigned counsel, Reshma Kamath,
10

11   they could have at least justified bringing the non-factual DTSA action on behalf of
12
     Quintara.
13
           More than half of Mr. Peterson venting shows his team’s over-confidence and
14

15   lack of preparation during trial. In the rebuttal portion of the closing statement, Mr. Li
16
     demonstrated this same rant against “Ms. Kamath” rather than the preponderance of
17
     evidence in proving his DTSA case for Quintara.
18

19         Mr. Peterson (even when the court may think otherwise) has in essence WAIVED
20
     his right of objection. Why you may ask? Because Mr. Peterson filed the Opposition to
21
     the Motion for Attorneys’ Fees concurrently with the objection. Thus, as the court says
22

23   succinctly in its Order, went ahead and filed it, Quintara with Mr. Peterson’s objection
24
     did exactly the same. They filed the Opposition to the Motion for Attorneys’ Fees
25
     addressing all pages of the over-lengthy/over-sized Motion for Attorneys’ Fees
26

27   simultaneously with the Objection. Had Quintara’s Objection come prior to the
28
     Opposition even by one hour, it would have shown some merit for the court to rule on.

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 1   However, now the court should be in a dilemma if it is truly neutral, fair and impartial.
 2           Interesting to see how the court did not put in the Order a file-by date for the
 3
     Objection, and waited for two weeks for Quintara to file the Objection concurrently with
 4

 5   the Opposition (again, Quintara waiving the over-lengthy brief).
 6
             Further, what Mr. Peterson ignores is this: the court prior ruled on pre-trial
 7
     conference rulings. They’re not at issue in this request for an over-lengthy brief. Thus,
 8

 9   conflating this request for an over-lengthy brief with pre-determined issues irrelevant to
10
     this request form an unhealthy argument from Mr. Peterson. Hence, Mr. Peterson only
11
     resorts to ad hominem attacks on Ms. Kamath throughout his objection. Thus, quid pro
12

13   quo.
14
             Moreover, Mr. Peterson forgets all the transgressions of Quintara and his team.
15
     For e.g., at start of trial, Quintara making up falsified pages that Ruifeng did not include
16

17   in the exhibits; using the power-point slides in the closing statement when Mr. Li had
18
     stipulated not to using slides with undersigned counsel, because he had not finished; in
19
     the middle of trial stating Quintara should have received more production in an attempt
20

21   to delay trial; not having the appropriate plug-in adapter; and, the list is endless.
22
             Similar to how Mr. Peterson has brought up completely irrelevant arguments
23
     about Ruifeng’s counsel, the examples above only demonstrate to the court that Quintara
24

25   and Mr. Peterson have done the same. The court, that may have studied human
26
     psychology and behavior over the years, should realize why Mr. Peterson is acting up
27
     after the loss of his clients’ trial.
28



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 1          Finally, the frivolous DTSA litigation lasted for over three years. It wasted a lot
 2   of resources for all parties and the judiciary. It is more than justified to encompass a
 3
     more than the standard twenty-five (25) pages in a motion brief in a multi-party, multi-
 4

 5   defendant case for a newly envisioned 2016 DTSA statute.
 6
            The Court also knows that the 2016 DTSA statute is not a two-page brief such as
 7
     Buchalter’s. It is a complex, comprehensive statute that requests specific types of
 8

 9   subjective and objective evidence of bad-faith for a motion for attorneys’ fees. Ruifeng
10
     has demonstrated exactly that in its over-sized/over-lengthy brief, i.e., examples and
11
     evidence of Quintara, and its attorneys’ objective and subjective bad-faith in bringing
12

13   forth a wasteful DTSA litigation.
14
            Undersigned counsel, in the interests of justice, offered the eleven-page extra
15
     filing to Quintara as well. Undersigned counsel can even allow even a sur reply to the
16

17   reply via stipulation should the over-sized/over-lengthy brief be allowed to be
18
     considered.
19
            As serious and angry as the court was at the frivolous DTSA litigation, the
20

21   undersigned counsel is sure that the court was amused during the entire case in such a
22
     never-before-seen-litigation.
23
     ///
24

25
     DATED: AUGUST 10, 2023,                LAW OFFICE OF RESHMA KAMATH
26

27
                                               /S/ Reshma Kamath
                                            Reshma Kamath, Counsel for Defendants
28                                          RUIFENG BIZTECH INC.; GANGYOU
                                            WANG; ALAN LI; AND, RF BIOTECH LLC

                                                 4                           3:20-cv-04808-WHA
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 1                            CERTIFICATE OF SERVICE
       F.R.C.P. 5 / C.C.P. § 1013(a)(3), C.C.P. § 1010.6(a)(6) / Cal. R. Ct. R. 2.260.
 2

 3          I am employed in, the County of San Mateo, California. I am over the age of 18,
     and not a party to this action. My business/mailing address is: 700 El Camino Real, Suite
 4   120, #1084, Menlo Park, California 94025, United States; and, e-mail address is
 5   reshmakamath2021@gmail.com for electronic-service. On August 10, 2023, I will send
     the following documents via the below method of service. SEE ATTACHED SERVICE
 6   LIST.
 7   ///
     RUIFENG ET AL’S REPLY TO THE OBJECTION OF QUINTARA AS TO
 8   REQUEST FOR OVERLENGTHY/OVERSIZED BRIEF.
 9   CERTIFICATE OF SERVICE.
     ///
10
            Via ELECTRONIC SERVICE: In electronically transmitting courtesy copies of
11   the document(s) listed above to the email address(es) of the person(s) set forth on the
     attached service list per the electronic service agreement between the parties’ counsel.
12
     To my knowledge, the transmission was reported as complete and without error. [Notice
13   of Electronic-Service pursuant to California Code of Civil Procedure § 1010.6.]
     ///
14
            I declare under penalty of perjury of the laws of the State of California, and the
15   laws of the United States of America that the foregoing is true and correct. Executed on
     August 10, 2023 electronically.
16

17                                                           Sincerely,
                                                         /S/ Reshma Kamath
18                                                       Reshma Kamath
19

20

21   SERVICE LIST
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27   Ting Jiang, LiLaw, Inc./Quintara’s Legal assistant E.: jiangt@lilaw.us
28



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